Captured at: 04/03/2023, 10:55 AM                                                        Case 6:20-cv-00585-ADA Document 272-9 Filed 10/04/23 Page 1 of 1


URL: https://store.google.com/magazine/compare_pixel?hl=en-' S&toggler0=Pixel+2+XL&toggler1=Pixel&togg
ler2=Pixel+XL
                                                                   Fresh deals are here. Celebrate spring with savings on products you love. Browse offers


G          Phones       earbuds         Watches            SmartHome         Laptops        Accessories         Subscriptions            Offers                                                                                                             @




                                                                            Which Pixel phone is right for
                                                                                                                          you?




                           Pixel 2 XL                                                              Pixel                                                                Pixel XL




                                                                                                                        Available colors

                                                         e                                                                      oe




                                                                                                                          Dimensions"




                             6.2"h                       6.0"d
                                                                                                    5.6"h                       5.0"d                                     6.2"h




                                                                                                                           Network?

                        4G                                                                        4G                                                                 4G




                                                                                                                               Display
                        Fullscreen 6.0 inch display                                               5.0 inch display                                                   5.5 inch display

                        FHD+ flexible OLED at 538ppi                                              FHD AMOLED at 441ppi                                               FHD AMOLED at 534ppi


                        18:9                                                                                                                                         16:9




                                                                                                                               Battery

                        Typical 3520 mAh                                                       Typical 2770 mAh§                                                     Typical 3450 mAh’
                        All-day battery’                                                       All-day battery’                                                      All-day battery”



                        Fast charging                                                             Fast charging                                                      Fast charging




                                                                                                                               Design
                        Metal unibody with hybrid coating                                         Metal unibody                                                      Metal unibody



                        Active Edge”

                        Water resistant’




                                                                                                                   Memory and storage
                        4GB RAM                                                                   4GB RAM                                                            4GB RAM

                        Up to 128GB storage”, plus unlimited                                      Up to 128GB storage”, plus unlimited                               Up to 128GB storage”, plus unlimited
                        storage at original quality with Google                                   storage at original quality with Google                            storage at original quality Google Photos"
                        Photos"                                                                   Photos"




                                                                                                                            Security




                        Pixel Imprint™                                                            Pixel Imprint”                                                     Pixel Imprint™




                                                                                                                           Processors


                        Qualcomm® Snapdragon” 835 with Octa-                                      Qualcomm® Snapdragon™ 821 with Quad-                               Qualcomm® Snapdragon™ 821 with Quad-
                        Core                                                                      Core                                                               Core

                        Pixel Visual Core™

                        Security Module


                                                                                                                          Rear camera

                        12.2MP dual-pixel rear camera                                             12.3MP                                                             12.3MP



                        £/1.8 aperture                                                            f12.0
                        Autofocus with laser + dual pixel phase                                Autofocus with laser + phase detection                                Autofocus with laser + phase detection
                        detection

                        Optical + electronic image stabilization




                                                                                                                          Front camera


                        8MP front camera                                                          8MP front camera                                                   8MP front camera

                                aperture, fixed focus                                             £/2.4 aperture, fixed focus                                        £/2.4 aperture, fixed focus




                                                                                                                        Camera features




                        Night Sight                                                               Night Sight                                                        Night Sight


                        Portrait Mode                                                             Portrait Mode                                                      Portrait Mode




                        HDR+                                                                      HDR+                                                               HDR+




                                                                                                                               Audio

                        Dual, front-firing stereo speakers                                        Bottom-firing speaker                                              Bottom-firing speaker
                        USB-C® audio                                                              USB-C® audio                                                       USB-C® audio

                                                                                                  3.5 mm
                                                                                                           audio jack                                                3.5 mm audio jack




                                                                                                                           Pixel Pass

                        Not    eligible                                                           Not   eligible                                                     Not    eligible


                                                                                                                        Operating system
                        Launched with Android 8 Oreo                                              Launched with Android 7 Nougat                                     Launched with Android 7 Nougat




     Dimensions and weight vary by        configuration and manufacturing process.
 2
     Contact carrier for details. 5G service is
                                                       carrier dependent.   Learn more about 5G network       compatibility,
 2
     Requires a 5G data plan (sold separately). 5G service not available on all carrier networks or in all areas. Contact carrier for details. 5G service, speed and performance depend on many factors including, but not limited
     to, carrier network capabilities, device configuration and capabilities, network traffic, location,
     apply. Learn more about 5G network compatibility.
                                                                                                                   signal strength
                                                                                                                       and signal obstruction, Actual results may vary. Some features not available in all areas. Data rates may


 4
     Not available for all apps or content. Display automatically adjusts to optimize for best viewing and battery performance.

 5
     Estimate of    typical capacity based upon testing and expected cell behavior.
 ¢
     Pixel 7 Pro and Pixel 7: Fast wired charging rates (up to 21W on Pixel 7 and up to 23W on Pixel 7 Pro) are based upon use of the Google 30W USB-C® Charger plugged into a wall outlet. Actual results may be slower.
     ‘Adapters sold separately. Charging speed based upon testing with device batteries drained to 1% and charged with Google 30W USB-C® Charger. Charging testing conducted by Google in mid-2022 on preproduction
     hardware and software using default settings with the device powered on. Charging speed depends upon many factors including usage during charging, battery age, and ambient temperature. Actual charging speed
     may be slower. Wireless charging rates up to 21W (Pixel 7) and up to 23W (Pixel 7 Pro) charging with Google Pixel Stand (2nd gen) (sold separately). Up to 12W with Gi-certified EPP chargers (sold separately). Actual
     results may be slower.


     Pixel 6a: Wired charging rates up to 18W based on use of Google 30W USB-C® or Google 18W USB-C® Charger plugged into a wall outlet. Actual results may be slower. Adapters sold separately. Compatible with USB PD
     3.0 PPS adapters.


     Pixel 5/Pixel 4a (5g): Up to 12 W with Pixel 5 charging with Qi certified EPP charger (sold separately). Actual results may be slower. Gi-certified.


     Pixel 4a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may vary.


     Pixel 4 / Pixel 4 XL: Up to 10 W with Pixel 4 or Pixel 4 XL charging with Pixel Stand (sold separately). Actual results may vary.


     Pixel 3a: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


     Pixel 3 / Pixel 3 XL: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold separately). Actual results may vary.


     Pixel 2 / Pixel 2 XL: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.


           /
     Pixel Pixel XL: Up to 18W wired charging rates are based upon use of the included charger plugged into a wall outlet. Actual results may be slower.
 ”
     Pixel 7 Pro and Pixel 7: For “24-hour”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life                   during
     testing was approximately 31 hours. Battery testing conducted on a major carrier network. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk,
     data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major carrier network. For both
     claims: Battery testing conducted in California in early 2022 on pre production hardware and software using default settings, except that, for the “up to 72 hour” claim only, Extreme Battery Saver mode was enabled.
     Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.

     Pixel 6a: For “24-hour”: Estimated battery life based on testing using a median Pixel user battery usage profile across a mix of talk, data, standby, and use of other features. Average battery life                    during testing was
     approximately 29 hours. Battery testing conducted using Sub-6 GHz non-standalone 5G (ENDC) connectivity. For “Up to 72 hours”: Estimated battery life based on testing using a median Pixel user battery usage profile
     across a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables various features including 5G connectivity). Battery testing conducted on a major

     carrier network. For both claims: Battery testing conducted in California in early 2022 on pre-production hardware and software using default settings, except that, for the “up to 72 hour”    claim only, Extreme Battery
     ‘Saver mode was enabled, Battery life depends upon many factors and usage of certain features will decrease battery life. Actual battery life may be lower.


                                “beyond 24 hours": Estimated battery life based on testing using a mix of talk, data, standby, and use of other features. Average battery life during testing was 34 hours. Battery life depends
     Pixel 6 Pro and Pixel 6: For
     upon many factors and usage of certain features will decrease battery life. Battery testing conducted by a third party in California in mid 2021 on pre-production hardware and software, using default settings. Battery
     testing conducted using two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC) connectivity. Actual battery life may be lower.

     For “all-day”: Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Testing conducted on two major carrier networks using Sub-6 GHz non-standalone 5G (ENDC)
     connectivity. For “Up to 48 hours /2 days”: Maximum battery life based on testing using a mix of talk, data, standby, and use of limited other features that are default in Extreme Battery Saver mode (which disables
     various features including 5G connectivity). Testing conducted on two major carrier networks. For both claims: Pixel Sa with 5G battery testing conducted by a third party in California in early 2021 on pre-production

     hardware and software using default settings, except that, for the “up to 48 hour/ 2 days claim” only, Extreme Battery Saver mode was enabled. Battery life depends upon many factors and usage of certain features will
     decrease battery life. Actual battery life may be lower.


     Pixel 5 and Pixel 4a   (5g): Maximum battery life based on testing using a mix of talk, data, standby, and use of other features. Battery life depends upon many factors and usage of certain features will decrease battery
     life, Pixel 4a (5G) and Pixel 5 battery testing conducted by a third party in California in mid 2020 on pre-production hardware and software, using default settings. Testing conducted on two major carrier networks using
     Sub-6 GHz non-standalone 5G (ENDC) connectivity, Actual battery life may be lower.


     Pixel 4a: Approximate battery life based on a mix of talk, data, standby, and use of other features, with always on display off. An active display and other usage factors will decrease battery life. Pixel da battery testing
     conducted in Mountain View, California in early 2020 on pre-production hardware and software. Actual results may vary.


     Pixel 4 / Pixel 4 XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with Motion Sense off and always on display off. Use of Motion Sense, an active display or
     data usage will decrease battery life. Pixel 4 and 4 XL testing conducted in Mountain View, California in August 2019 on pre-production hardware and software. Actual results may vary.


     Pixel 3a and Pixel 3a XL: Approximate battery life based on a mix of talk, data, standby, mobile hot spot and use of other features, with always on display off. An active display or data usage will decrease battery life.
     Actual results may vary.


     Pixel 3 and Pixel 3 XL: Approximate battery life based on a mix of talk, data, standby and use of other features, with always on display off and mobile hotspot off. An active display or data usage will decrease battery life,
     Wired charging: rates are based on use of the included charger. Wireless charging: Up to 10 W with Pixel 3 and Pixel 3 XL charging with Pixel Stand (sold                   separately). Actual results may vary.
     Pixel 2 and Pixel 2 XL: Approximate battery life based on a mix of talk, data, and standby use with always on display off. Requires use of included charger. An active display or data usage will decrease battery life. Actual
     results may vary, see website for details.


     Pixel and Pixel XL: Battery use statistics are approximate and represent mixed use of talk, standby, web                  browsing, and other features, according to an average user profile as defined by Google. Uses that involve an
     active    display or data usage will use battery more quickly, actual results may vary. Charging rates are based on use of the included USB Type-C 18W charger.
 ®
     Designed to charge Gi-certified devices. Use of reverse wireless charging significantly reduces Pixel battery life. Cases may interfere with charging and will reduce charging speed. Charge speeds may vary. Learn more
     about     wireless charging,

 9 Pixel 7 Pro and Pixel 7:
                                Designed to comply with water protection rating IPX8 under IEC standard 60529 when each device leaves the factory but device is not waterproof. The accessories are not water resistant. Water
     resistance is not a permanent condition,           and diminishes or is lost over time due to normal wear and tear, device repair, disassembly or damage. Dropping your device may result in loss of water resistance. Liquid damage
     voids the warranty. See g.co/pixeVwater.


     Pixel 6a: Designed to comply with water protection rating IPX7 under IEC standard 60529 when each device leaves the factory but device is not waterproof. The accessories are not water resistant. Water resistance is
     not a permanent condition, and diminishes or is lost over time due to normal wear and tear, device repair,                 disassembly or damage. Dropping your device may result in loss of water resistance. Liquid damage voids the
     warranty. See g.co/pixeliwater.

     Pixel Sa with 5G has a water protection rating of IPX7 under IEC standard 60529. Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
     wear and tear,    repair, disassembly or damage.

     Pixel 5: Pixel 5 has a water protection rating of IPX8 under IEC standard 60529.             Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to normal
     wear and tear, repair,    disassembly or damage.

     Pixel 4 and Pixel 4 XL have a water protection rating of IPX8 under IEC standard 60529.               Charger and accessories are not water resistant. Water resistance is not a permanent condition and may be compromised due to
     normal wear and tear, repair, disassembly or damage.


     Pixel 3 and Pixel 3 XL have a water protection rating of IPX8 under IEC standard 60529. Charger and accessories are not water resistant.


     Pixel 2 and Pixel 2 XL has a water protection rating of IP67 under IEC standard 60529.              Charger and accessories are not water resistant.

      Storage specifications refer to capacity before formatting, Actual formatted capacity will be less.
     Pixel 5, Pixel 4a (5G), Pixel 4a, Pixel 4 and Pixel 4 XL:      Google Photos offers unlimited online storage for all photos and videos uploaded in high-quality. Photos and videos uploaded in high-quality may be compressed or
     resized. Requires Google
                                     Account   and    internet connection. Data rates may   apply. Learn more about       uploading photos    and videos.


     Pixel 3a and Pixel 3a XL: Google Photos offers free unlimited online storage for all photos and videos uploaded in                  high-quality. Photos and videos uploaded high-quality may be compressed or resized. Requires Google
                                                                                                                                                                                    in

     Account. Data rates may      apply. Learn more about        uploadingphotos    and videos.


     Pixel 3 and Pixel 3 XL: Free unlimited online original-quality storage for all photos and videos uploaded to Google Photos from Pixel 3 through                             Photos and videos uploaded before 1/3/2022 will remain free at
     original-quality. Requires Google Account. Data rates may apply. Learn more about                 uploadingphotos     and videos.


     Pixel 2 and Pixel 2 XL: Free, unlimited         original-quality storage for photos and videos taken with Pixel through the end of 2020, and free, unlimited high-quality storage for photos taken with Pixel afterwards,

     Pixel and Pixel XL: Unlimited original quality storage of photos/videos taken with your Pixel, high quality for all other photosivideos. Requires Google Account. Data rates may apply.

 ®
     Maximum resolution and field of view with RAW image files setting turned on.             Setting is turned off by default. See g.co/pixeV/photoediting for more information.
 8 Measured
                   diagonally; dimension may vary by configuration and manufacturing process.
     Magic Eraser may not work on all image elements.
     HDR brightness measured at 100% on-pixel ratio. Peak Brightness measured at 5% on-pixel ratio.

     Coming soon. Restrictions apply. Some data is not transmitted through VPN. Not available in all countries. All other Google One membership benefits sold separately. Pixel VPN offering does not impact price or benefits
     ‘of Google One Premium plan. Use of VPN may increase data costs depending on your plan. See g.co/pixel/vpn for details.

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                                                                                                                                                                      Shipping options                     Help Center

                                                                                                                                                                      Tracking a package                  Contact Us


                                                                                                                                                                      Country availability                 Financing

                                                                                                                                                                     Repairs                               Device recycling


                                                                                                                                                                      Installation                         Sustainability

                                                                                                                                                                      Ideas & Info                        Gift returns


                                                                                                                                                                                                           Refurbished


                                                                                                                                                                                                          Trade-in


                                                                                                                                                                                                           Pixel for Business
                                                                                                                                                                                                                                           PLAINTIFF'S
                                                                                                                                                                                                                                             EXHIBIT

                                                                                                                                                                                                           Locations                     PTX-448
                                                                                                                                                                                                                                         6:20-cv-572/580/584/585


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                  YOQOHaod                                                                              inited states
                                                                                                                            Privacy          Google Nest Commitment to Privacy           Sales Terms       Terms of Service         Careers


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